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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

RUSSELL ZINTER; JACK MILLER;             §
BRIAN HOWD; JAMES A. MEAD;               §
JOSEPH BRANDON PIERCE; MARK BROWN;       §
DAVID BAILEY; JUAN GONZALES JR.;         §
KEVIN EGAN; JONATHON GREEN;              §
JAMES SPRINGER                           §
                                         §
              Plaintiffs,                §
                                         §
VS.                                      § CIVIL ACTION NO. 5:18-CV-0680-FB
                                         §
CHIEF JOSEPH SALVAGGIO;                  §
LIEUTENANT DAVID ANDERSON;               §
DEPUTY JANE DOE GOLDMAN;                 §
OFFICER JOHNNY VASQUEZ;                  §
CPL CHAD MANDRY; SERGEANT JOHN DOE; §
OFFICER JIMMIE WELLS; CPL. LOUIS FARIAS, §
BADGE 534; OFFICER BRANDON EVANS,        §
BADGE 556; OFFICER UZIEL HERNANDEZ; §
JOHN DOE TASER 1; JOHN DOE TASER 2 AND §
THE CITY OF LEON VALLEY, A POLITICAL §
SUBDIVISION OF THE STATE OF TEXAS        §
                                         §
              Defendants.                §
___________________________________ §

  DEFENDANT CHIEF SALVAGGIO, LT. ANDERSON AND OFFICERS VASQUEZ,
   MANDRY, WELLS, FARIAS, EVANS AND HERNANDEZ’ ORIGINAL ANSWER

TO THE HONORABLE UNITED STATES DISTRICT JUDGE FRED BIERY:

       NOW COMES CITY OF LEON VALLEY CHIEF                OF   POLICE JOSEPH SALVAGGIO, LT.

DAVID ANDERSON      AND   OFFICERS JOHNNY VASQUEZ, CORPORAL CHAD MANDRY, OFFICER

JIMMIE WELLS, CORPORAL LOUIS FARIAS, OFFICER BRANDON EVANS and OFFICER UZIEL

HERNANDEZ, Individually and in their Official Capacity, Defendants in the above entitled and

numbered cause and files this their Original Answer to Plaintiffs’ First Amended Complaint

heretofore filed and in support thereof would respectfully show unto the Court the following:
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                                                            I.
                                                     FIRST DEFENSE

          Plaintiffs’ First Amended Complaint fails to state a cause action against these Defendants

upon which relief may be granted.

                                                         II.
                                                   SECOND DEFENSE

          Defendants CITY OF LEON VALLEY CHIEF OF POLICE SALVAGGIO, LT. ANDERSON AND

OFFICER VASQUEZ, CORPORAL MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER

EVANS and OFFICER HERNANDEZ, admits that this action purports to arise from violations of

Plaintiffs’ Constitutional Rights pursuant to 42 U.S.C. § 1983, as alleged in Plaintiffs’ First

Amended Complaint; however, Defendants deny that any cause of action exists there under.

                                                         III.
                                                    THIRD DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Statement of Facts” Paragraphs 32 through 37 of Plaintiffs’ First Amended Complaint.

Defendants would show unto the Court that Plaintiff MARK BROWN was arrested for

Interference with Public Duties under Section 38.15(a) of the TEXAS PENAL CODE and Resisting

Arrest under Section 38.03(a) of the TEXAS PENAL CODE. Said charges are currently pending

with the Bexar County District Attorney’s Office.

                                                         IV.
                                                   FOURTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “June 18, 2018 Incident” Paragraphs 38 through 42 of Plaintiffs’ First Amended

Complaint.         Defendants deny Plaintiffs’ allegations that detentions and arrests were made
Russell Zinter, et al v. Chief Joseph Salvaggio, et al                                               Civil Action No. 5:18-CV-0680-FB
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without lawful basis and that excessive force was used. Defendants would show unto the Court

that Plaintiff DAVID BAILEY was arrested for obstructing a passage way under § 42.03 of the

TEXAS PENAL CODE. Plaintiff JAMES SPRINGER was arrested for Interference With Public

Duties under § 38.15(a) of the TEXAS PENAL CODE. Said charges are currently pending with the

Bexar County District Attorney’s Office.

                                                           V.
                                                     FIFTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “June 23, 2018 Incident” Paragraphs 43 through 47 of Plaintiffs’ First Amended

Complaint. Defendants would show unto the Court that Plaintiff SPRINGER was arrested for

Retaliation under § 36.06 of the TEXAS PENAL CODE. Plaintiff BRIAN HOWD was arrested for

Interference With Public Duties under Section 38.15(a) of the TEXAS PENAL CODE and Resisting

Arrest under § 38.03 of the TEXAS PENAL CODE. Plaintiff JOSEPH BRANDON PIERCE was

arrested for Interference With Public Duties under § 38.15(a) of the TEXAS PENAL CODE and

Failure to Identify under § 38.02 of the TEXAS PENAL CODE. Defendants specifically deny

Plaintiff’s allegations of unlawful seizure and excessive force, as a matter of law.

                                                           VI.
                                                     SIXTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON AND OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

would show unto the Court that the Plaintiffs are a cabal of communication zealots intent on

bringing chaos and disruption to municipal governments and in particular, the City of Leon

Valley. Plaintiffs and their cohorts, through “live feeds” on social media instigation, conducted

mass phone callings to city offices and mass email communications to City of Leon Valley
Russell Zinter, et al v. Chief Joseph Salvaggio, et al                                               Civil Action No. 5:18-CV-0680-FB
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Offices, disrupting the government of the City of Leon Valley. Contrary to their alleged self-

imposed title of First Amendment Auditors (FAA), Plaintiffs are churlish fomenters. Defendants

assert unto the Court that Plaintiffs’ rights under the First and Fourth Amendments were not

violated and Plaintiffs’ were not subjected to excessive force, as a matter of law.

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiffs Russell Zinter,” Paragraphs 48 through 52 of Plaintiffs’ First Amended

Complaint. Defendants deny that Plaintiff RUSSELL ZINTER’s constitutional rights were violated

as alleged in Plaintiff’s Complaint, as a matter of law.

                                                        VII.
                                                  SEVENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiffs Jack Miller,” Paragraphs 53 through 56 of Plaintiffs’ First Amended

Complaint.        Defendants deny that Plaintiff JACK MILLER’s First Amendment Rights were

violated as alleged in his Complaint, as a matter of law.

                                                        VIII.
                                                   EIGHTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiffs Brian Howd,” Paragraphs 57 through 60 of Plaintiffs’ First Amended

Complaint. Defendants deny that Plaintiff BRIAN HOWD’s allegations that he was arrested

without probable cause. Plaintiff Howd was arrested and charged for Interference with Public

Duties and Resisting Arrest.



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                                                         IX.
                                                    NINTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiffs James A Mead,” Paragraphs 61 through 79 of Plaintiffs’ First

Amended Complaint. Defendants deny Plaintiff JAMES A. MEAD’S allegations of Unlawful

Detention and Unlawful Seizing of Property as alleged in his Complaint, as a matter of law.

                                                          X.
                                                    TENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiffs Joseph Brandon Pierce,” Paragraphs 80 through 93 of Plaintiffs’ First

Amended Complaint. Defendants would show unto the Court that Plaintiff JOSEPH BRANDON

PIERCE was arrested for Interference With Public Duties and Failure To Identify. Defendants

deny that Plaintiff’s constitutional rights were violated, as a matter of law.

                                                        XI.
                                                 ELEVENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiffs Mark Brown,” Paragraphs 94 through 101 of Plaintiffs’ First Amended

Complaint. Defendants would show unto the Court that Plaintiff MARK BROWN was arrested for

Interference With Public Duties and Resisting Arrest. Defendants deny Plaintiff’s claims of

excessive force, as alleged in Plaintiff’s Complaint, as a matter of law.




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                                                       XII.
                                                 TWELFTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiffs David Bailey,” Paragraphs 102 through 108 of Plaintiffs’ First

Amended Complaint. Defendants would show unto the Court that Plaintiff DAVID BAILEY was

arrested for Obstructing a Passage way in the foyer leading to Municipal Court. Defendants

deny that Plaintiff BAILEY’s Constitution rights were violated as alleged.

                                                      XIII.
                                               THIRTEENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiff Juan Gonzales Jr.,” Paragraphs 109 through 118 of Plaintiffs’ First

Amended Complaint. Defendants deny Unlawful Detention of Plaintiff JUAN GONZALES, JR. as

alleged in Plaintiff’s Complaint, as a matter of law.

                                                     XIV.
                                              FOURTEENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiffs Kevin Eagan,” Paragraphs 119 through 128 of Plaintiffs’ First

Amended Complaint. Defendants deny that Plaintiff KEVIN EAGAN’S allegations of Unlawful

Detention and deny violating Plaintiff’s constitutional rights, as a matter of law.

                                                       XV.
                                                FIFTEENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,
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deny “Meet the Plaintiffs Johnathon Green,” Paragraphs 129 through 134 of Plaintiffs’ First

Amended Complaint.                Defendants deny that Plaintiff JONATHON GREEN was Unlawfully

Detained as alleged in Plaintiff’s Complaint.                        Defendants deny that Plaintiff’s rights were

violated under the constitution, as alleged in his Complaint, as a matter of law.

                                                       XVI.
                                                SIXTEENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ,

deny “Meet the Plaintiffs James Springer,” Paragraphs 135 through 146 of Plaintiffs’ First

Amended Complaint. Defendants would show unto the Court that Plaintiff JAMES SPRINGER

was arrested for Retaliation and Interference with Public Duties. Defendants deny Plaintiff’s

allegations of excessive force and deny that Plaintiff’s constitutional rights were violated, as a

matter of law.

                                                    XVII.
                                             SEVENTEENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 1-5 – June 14, 2018 Incident” Paragraphs 147 through 167 of Plaintiffs’ First

Amended Complaint.                Defendants deny that Plaintiff’s rights under the First and Fourth

Amendment were violated under 42 U.S.C. § 1983, as alleged Plaintiffs’ Complaint. Plaintiff

MARK BROWN was lawfully arrested for Interference With Public Duties and Resisting Arrest.

Charges against Plaintiff BROWN are pending in the Bexar County District Attorney’s Office.

Defendants assert that since charges are pending against Plaintiff BROWN, his civil suit be stayed

pending the disposition of the state criminal proceedings. Lewis v. Beddingfield, 20 F.3d 123,

125 (5th Cir. 1994).
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                                                     XVIII.
                                              EIGHTEENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 6 – June 18, 2018 Incident,” Paragraphs 168 through 175 of Plaintiffs’ First

Amended Complaint. Defendants deny Plaintiffs’ were unlawfully arrested and/or detained in

violation of the Fourth Amendment under 42 U.S.C. § 1983 as alleged. Defendants would show

unto the Court that Plaintiff BAILEY was arrested for Obstructing Passageway and Plaintiff

SPRINGER was arrested for Retaliation and Interference with Public Duties. Said are currently

pending with the Bexar County District Attorney’s Office. Defendants assert that since charges

are pending against these Plaintiffs that their civil suit be stayed pending disposition of state

criminal proceedings. Lewis v. Beddingfield, 20 F.3d 123, 125 (5th Cir. 1994).

                                                      XIX.
                                               NINETEENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

affirmatively assert that at all times made the basis of Plaintiffs’ Complaint that they were acting

in the course and scope of their employment as City of The Leon Valley Police Officers and

Peace Officers of the State of Texas acting pursuant to their discretionary capacity and at all

times acted in good faith and therefore, they are entitled to the protective shroud of qualified

immunity and official immunity, as a matter of law.

          Defendants affirmatively plead the protective shroud of qualified immunity under both

prongs of the qualified immunity analysis. Defendants assert that their conduct did not violate a

constitutional right and further assert that their conduct was objectively reasonable in light of


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clearly established law. Hogan v. Cunningham, 722 F.3d 725, 734 (5th Cir. 2013).

                                                      XX.
                                               TWENTIETH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 7 – June 18, 2018 Incident” Paragraphs 176 through 186 of Plaintiffs’ First

Amended Complaint. Defendants would show unto the Court that Plaintiff PIERCE was arrested

for Interference with Public Duties and Failure to Identify, Plaintiff BAILEY was arrested for

Obstructing a Passageway and Plaintiff SPRINGER was arrested for Retaliation and Interference

with Public Duties.             Said charges are currently pending with the Bexar County District

Attorney’s Office. Defendants deny that said arrests and detentions were a violation of the

Plaintiffs’ First Amendment Rights under 42 U.S.C. § 1983, as alleged.

                                                     XXI.
                                             TWENTY-FIRST DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 8 – June 18, 2018 Incident” Paragraphs 187 through 195 of Plaintiffs’ First

Amended Complaint. Defendants deny Plaintiffs’ allegations of excessive force in violation of

the Fourth Amendment under 42 U.S.C. § 1983, as alleged in Plaintiff’s Complaint. Defendants

would show unto the Court that only the necessary amount of reasonable force was used to

detain and/or arrest the Plaintiffs in question.

                                                   XXII.
                                           TWENTY-SECOND DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                              AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

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deny “Count 9 – June 18, 2018 Incident” Paragraphs 196 through 204 of Plaintiffs’ First

Amended Complaint.                Defendants deny that Plaintiffs’ property was unlawfully seized in

violation of the Fourth Amendment under 42 U.S.C. § 1983, as alleged. Defendants assert unto

the Court that Plaintiffs PIERCE, BAILEY and SPRINGER have current criminal charges pending

against them as heretofore stated. Defendants assert that since charges are pending against these

Plaintiffs that this suit be stayed pending disposition of the state criminal proceedings, as a

matter of law.

                                                    XXIII.
                                             TWENTY-THIRD DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 10 – June 18, 2018 Incident” Paragraphs 205 through 212 of Plaintiffs’ Complaint.

Defendants would show unto the Court that Plaintiff SPRINGER currently has criminal charges

pending against him for Retaliation and Interference with Public Duties. Defendants assert that

pending the criminal charges should stay Plaintiffs’ Section 1983 cause of action. Lewis v.

Beddingfield, 20 F.3d 123, 125 (5th Cir. 1994).

                                                   XXIV.
                                           TWENTY-FOURTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 11 – June 18, 2018 Incident” Paragraphs 213 through 217 of Plaintiffs’ Complaint.

Defendants would show unto the Court that Plaintiff BAILEY obstructed the passageway into the

municipal court building and was arrested for Obstructing The Passageway. Said charges are

pending with the Bexar County District Attorney’s Office. Defendants would show unto the


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Court that Plaintiffs have failed to state a cause of action under 42 U.S.C. § 1983 for abuse of

process under the Fourth Amendment, as a matter of law.

                                                     XXV.
                                             TWENTY-FIFTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 12 – June 23, 2018 Incident” Paragraphs 218 through 228 of Plaintiffs’ First

Amended Complaint. Defendants assert unto the Court that the Plaintiffs’ were not unlawfully

detained and/or arrested in violation of the Fourth Amendment under 42 U.S.C. § 1983, as

alleged.

                                                    XXVI.
                                             TWENTY-SIXTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 13 – June 23, 2018 Incident” Paragraphs 229 through 240 of Plaintiffs’ Complaint.

Defendants deny unlawful detention and/or arrest and/or unlawful seizure of property, as alleged.

Defendants deny Plaintiffs’ allegation that their rights under the First Amendment were violated

under 42 U.S.C. § 1983, as alleged. Defendants deny all claims of excessive force as alleged in

Plaintiffs’ Complaint.

                                                  XXVII.
                                          TWENTY-SEVENTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 14 – June 23, 2018 Incident” Paragraphs 241 through 245 of Plaintiffs’ Complaint.

Defendants specifically deny Plaintiffs’ allegations under the Fourth Amendment and allegations


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of excessive force under 42 U.S.C. § 1983, as a matter of law.

                                                  XXVIII.
                                           TWENTY-EIGHTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 15 – June 23, 2018 Incident” Paragraphs 246 through 253 of Plaintiffs’ Complaint.

Defendants deny unlawful seizure of property and unlawful arrest under the Fourth Amendment

as alleged in Plaintiffs’ Complaint. Defendants would show unto the Court that Plaintiffs

HOWD, PIERCE and SPRINGER were lawfully arrested and said charges are pending before the

Bexar County District Attorney’s Office. Defendants assert that since these charges are pending

against Plaintiffs’ that this civil lawsuit be stayed pending the disposition of the state criminal

proceedings. Lewis v. Beddingfield, 20 F.3d 123, 125 (5th Cir. 1994).

                                                    XXIX.
                                             TWENTY-NINTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 16 – June 23, 2018 Incident” Paragraphs 254 through 262 of Plaintiffs’ First

Amended Complaint.                Defendants deny Plaintiff HOWD was falsely arrested as alleged in

Plaintiffs’ Complaint. Defendants assert that Plaintiff HOWD was arrested for Interference With

Public Duties and Resisting Arrest. Said charges are currently pending before the Bexar County

District Attorney’s Office. Defendants assert that since said charges are pending against Plaintiff

HOWD, that this lawsuit be stayed pending disposition of the state criminal proceedings.

Plaintiffs’ allegations under the Fourth Amendment and allegations of excessive force under 42

U.S.C. § 1983, as a matter of law. Lewis v. Beddingfield, 20 F.3d 123, 125 (5th Cir. 1994).



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                                                        XXX.
                                                 THIRTIETH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 17 – June 23, 2018 Incident” Paragraphs 263 through 267 of Plaintiffs’ Complaint.

Defendants deny Plaintiffs’ allegations of abuse of process in violation of the Fourth

Amendment as alleged in Plaintiffs’ First Amended Complaint. Defendants specifically would

show unto the Court that HOWD and SPRINGER were lawfully arrested with criminal charges

currently pending at the Bexar County District Attorney’s Office. Plaintiff HOWD was arrested

for Interference With Public Duties and Resisting Arrest. Plaintiff SPRINGER was arrested for

Retaliation and Interference with Public Duties. Defendants assert that this civil lawsuit should

be stayed pending disposition of state criminal proceedings. Lewis v. Beddingfield, 20 F.3d 123,

125 (5th Cir. 1994).

                                                      XXXI.
                                              THIRTY-FIRST DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Count 18 Monell Liability” Paragraphs 268 through 277 of Plaintiffs’ Complaint.

Defendants assert unto the Court that all of its officers are trained in accordance with the Texas

Commission on Law Enforcement (TCOLE) and all officers maintain in-service training in

accordance with state standards. Plaintiffs have failed to state a cause of action under Monell, as

a matter of law.




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                                                    XXXII.
                                            THIRTY-SECOND DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

assert that at all times made the basis of Plaintiffs’ Complaint that they were acting in the course

and scope of their employment as City of Leon Valley Police Officers and peace officers of the

State of Texas, acting pursuant to their discretionary capacity and at all times acted in good faith

and therefore, they are entitled to the protective shroud of qualified immunity and official

immunity for all of Plaintiffs’ claims.

          Defendants affirmatively plead both prongs of the qualified immunity analysis as a

defense in the case at bar. Defendants assert (1) that their conduct did not violate a constitutional

right and further assert (2) their conduct was objectively reasonable in light of clearly established

law. Hogan v. Cunningham, 722 F.3d 725, 734 (5th Cir. 2013).

          Defendants assert unto the Court that their actions as law enforcement officers were

justified pursuant to the TEXAS PENAL CODE, Chapter 9, Section 9.51, as a matter of law.

                                                    XXXIII.
                                             THIRTY-THIRD DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

assert their defenses under the TEXAS TORT CLAIMS ACT, Chapter 101, § 101.023, §101.024, and

§ 101.106, as a matter of law.

          Defendants further assert their defenses under the TEXAS CIVIL PRACTICE & REMEDIES

CODE, Chapter 41, §41.0105 and Chapter 108, § 108.002, as a matter of law.




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                                                    XXXIV.
                                            THIRTY-FOURTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

deny “Prayer for Relief” of Plaintiffs’ First Amended Complaint. Defendants deny Plaintiffs’

are entitled to compensatory or punitive damages, as alleged. Defendants deny that Plaintiffs are

entitled to any injunctive relief and/or declaratory judgment relief, as alleged.                                     Defendants

further deny Plaintiffs are entitled to Attorney’s Fees pursuant to 42 U.S.C. § 1988, as a matter

of law.

                                                     XXXV.
                                              THIRTY-FIFTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

herein deny any allegations in Plaintiffs’ First Amended Complaint not specifically admitted

herein and demands strict proof thereof as required by law.

                                                     XXXVI.
                                              THIRTY-SIXTH DEFENSE

          Defendants CHIEF SALVAGGIO, LT. ANDERSON                               AND    OFFICER VASQUEZ, CORPORAL

MANDRY, OFFICER WELLS, CORPORAL FARIAS, OFFICER EVANS and OFFICER HERNANDEZ

herein demand a jury trial.

          WHEREFORE, PREMISES CONSIDERED, Defendants CHIEF SALVAGGIO, LT.

ANDERSON         AND     OFFICER VASQUEZ, CORPORAL MANDRY, OFFICER WELLS, CORPORAL

FARIAS, OFFICER EVANS and OFFICER HERNANDEZ pray that Plaintiffs’ suit be dismissed

against them, or in the alternative, that the Plaintiffs take nothing by their lawsuit against them,

that Defendants have Judgment herein, that the Defendants be awarded their costs expended,

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including reasonable attorney’s fees and for such other and further relief, both general and

special, and at law and in equity, to which they may show themselves justly entitled.

                                                   Respectfully submitted,

                                                   LAW OFFICES OF CHARLES S. FRIGERIO
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                                                   Riverview Towers
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                                                   San Antonio, Texas 78205
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                                                   BY: /s/ Charles S. Frigerio
                                                           CHARLES S. FRIGERIO
                                                           SBN: 07477500
                                                           ATTORNEY-IN-CHARGE

                                                         HECTOR X. SAENZ
                                                         SBN: 17514850
                                                   ATTORNEYS FOR DEFENDANTS CHIEF OF POLICE
                                                   JOSEPH SALVAGGIO, LT. DAVID ANDERSON AND
                                                   OFFICERS JOHNNY VASQUEZ, CORPORAL CHAD MANDRY,
                                                   OFFICER JIMMIE WELLS, CORPORAL LOUIS FARIAS,
                                                   OFFICER BRANDON EVANS AND OFFICER UZIEL HERNANDEZ

                                            CERTIFICATE OF SERVICE

       I hereby certify that on the 31st day of August, 2018, I electronically filed the foregoing
Defendants Chief Salvaggio, Lt. Anderson and Officer Vasquez, Corporal Mandry, Officer
Wells, Corporal Farias, Officer Evans and Officer Hernandez’ Original Answer with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to the following:

Mr. Brandon J. Grable
Grable Law Firm PLLC
1603 Babcock Road, Suite 118
San Antonio, Texas 78229

Mr. Solomon M. Radner
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26700 Lahser Road, Suite 401
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                                                              /s/ Charles S. Frigerio
                                                              CHARLES S. FRIGERIO
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